              Case
6/21/22, 6:56 AM     22-30056-KRH Doc 95-1 Filed 09/02/22           Entered
                                                      Gmail - Fwd: What         09/02/22 12:54:58
                                                                        I owe you                                     Desc
                                Exhibit(s) Party Admission E-mail Page 1 of 2

                                                                                     James Wilson <jameswilson29@gmail.com>



  Fwd: What I owe you
  2 messages

  Mandy Wilson <mwpadula@gmail.com>                                                                   Mon, Jun 20, 2022 at 11:16 AM
  To: James Wilson <jameswilson29@gmail.com>

    Jim,

    I received this email from Mike this am. He sent another email last week that is pages long about how I was destroying
    his reputation with Judge Huennukas. I never saw it until today, because he sent it to an email that I don’t use. Then my
    daughter asked me why I wasn’t responding to dads emails and I saw this and the other email when I went on that email.

    Let me know how much you anticipate your total fees will be per his email below.

    Mandy

    Sent from my iPad

    Begin forwarded message:


            From: Mandy Wilson <mwilson@parentalrightslawcenter.com>
            Date: June 20, 2022 at 11:08:32 AM EDT
            To: mwpadula@gmail.com
            Subject: Fwd: What I owe you




            Sent from my iPad

            Begin forwarded message:


                   From: michaelgwilson <michaelgwilson@zohomail.com>
                   Date: June 20, 2022 at 6:47:47 AM EDT
                   To: mwilson <mwilson@parentalrightslawcenter.com>
                   Subject: What I owe you



                   Mandy,

                   I’m sorry, I was wrong. You were right with your numbers, or close enough that it’s not
                   worth arguing about. Let me know, either directly or through the lawyers, how much in
                   legal fees you’ve incurred and I’ll make sure they’re included. Sorry again for dragging you
                   into this, but at least there’s now a process to get you repaid.

                   -Mike




  James Wilson <jameswilson29@gmail.com>                                                                Tue, Jun 21, 2022 at 6:56 AM
  To: Mandy Wilson <mwpadula@gmail.com>


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              Case
6/21/22, 6:56 AM      22-30056-KRH Doc 95-1 Filed 09/02/22           Entered
                                                       Gmail - Fwd: What         09/02/22 12:54:58
                                                                         I owe you                                    Desc
                                 Exhibit(s) Party Admission E-mail Page 2 of 2
    Mandy,

    I have billed you so far for $1,914 fees and costs. I have accrued 1.8 hours at $300 an hour for
    another $480 not yet billed, so the total as of this moment is $2,394.

    Best regards,
    Jim Wilson
    ***********************************************
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    Glen Allen, VA 23060
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    ***********************************************

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